Case: 4:18-cv-01568-RLW Doc. #: 23-6 Filed: 01/09/19 Page: 1 of 6 PageID #: 1462




                                                                EXHIBIT F
Case: 4:18-cv-01568-RLW Doc. #: 23-6 Filed: 01/09/19 Page: 2 of 6 PageID #: 1463
Case: 4:18-cv-01568-RLW Doc. #: 23-6 Filed: 01/09/19 Page: 3 of 6 PageID #: 1464
Case: 4:18-cv-01568-RLW Doc. #: 23-6 Filed: 01/09/19 Page: 4 of 6 PageID #: 1465
Case: 4:18-cv-01568-RLW Doc. #: 23-6 Filed: 01/09/19 Page: 5 of 6 PageID #: 1466
Case: 4:18-cv-01568-RLW Doc. #: 23-6 Filed: 01/09/19 Page: 6 of 6 PageID #: 1467
